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EXHIBIT A
Case: 3:16-cv-50037 Document #: 61-1 Filed: 05/31/16 Page 2 of 5 PagelD #:519

Lessmeister & Associates

Attorneys & Counselors at Law
105 W. Adams, Suite 2020, Chicago, IL 60603
Telephone: 312.929.2630

James J. Lessmeister cell: 312.351.4620

James J. Lessmeister email: jlessmeister@lessmeisterlaw.com

February 23, 2016
Via UPS, Tracking # 12.35 ZLYENT 1263503 |
Josef R. Kurlinkus

13333 White School Road
Roscoe, IL 61073

RE: Kelly & Anita Cosgriff v. County of Winnebago, JoAnn Hawes individually
and in her official capacity as Roscoe Township Assessor, Tom Hawes, Thomas J.
Walsh, Patricia J. Zintak, David Kurlinkus, Josef Kurlinkus, Charlotte LeCerlcq, in
their Individual and Official Capacities, and Kurlinkus Law, LLC, 2016 CV 50037.

Dear Mr. Kurlinkus,

A lawsuit has been filed against you in the United States District Court for the
Northern District of Illinois, Western Division. Kelly J. Cosgriff and Anita Cosgriff
are making this claim against you. Therefore, a copy of the complaint is attached.
This is not a summons or an official notice from the court. It is a request that,
to avoid expenses, you waive formal service of a summons by signing and
returning the enclosed waiver.

To avoid these expenses, you must return the signed waiver within thirty (30)
days from the date shown above, or by March 24, 2016. Two (2) copies of the
waiver form are enclosed along with a stamped self-addressed envelope for
returning one copy. You may keep the other copy.

If you return the signed waiver, we will file it with the court. The action will then
proceed as if you had been served on the date the waiver is filed but no summons
will be served on you and you will have 60 days from the date this notice is sent
to answer the complaint.

If you do not return the signed waiver within the time indicated. We will arrange
to have the summons and complaint served on you and we will ask the court to
require you to pay the expenses of making service.

If you have any questions, do not hesitate to contact us.
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Letter to J. Kurlinkus
Page 2 of 2

Lessmeister & Associates

 
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AO 399 (01/09) Waiver of the Service of Summons

UNITED STATES DISTRICT COURT

for the
Northern District of [linois [=]

Kelly J. Cosgriff and Anita Cosgriff
Plaintiff ~~
v.
Winnebago Couny, et. al
Defendant

Civil Action No, 2016 CV 50037

sna Naan” “Sanne Stl” “Senne”

WAIVER OF THE SERVICE OF SUMMONS

To: James J. Lessmeister
(Name of the plaintiff's attorney or unrepresented plaintiff)

I have received your request to waive service of a summons in this action along with a copy of the complaint,
two copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.

I, or the entity I represent, agree to save the expense of serving a summons and complaint in this case.

I understand that I, or the entity | represent, will keep all defenses or objections to the lawsuit, the court’s
jurisdiction, and the venue of the action, but that I waive any objections to the absence of a summons or of service.

I also understand that I, or the entity I represent, must file and serve an answer or a motion under Rule {2 within
60 days from 02/23/2016 _ the date when this request was sent (or 90 days if it was sent outside the
United States). If I fail to do so, a default judgment will be entered against me or the entity | represent.

Signature of the attorney or unrepresented party

Printed name of party waiving service of summons Printed name

Address
E-mail address

Telephone number

 

Duty to Avoid Unnecessary Expenses of Serving a Summons

Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to cooperate in saving unnecessary expenses of serving a summons
and complaint. A defendant who is located in the United States and who fails to return a signed waiver of service requested by a plaintiff located in
the United States will be required to pay the expenses of service, unless the defendant shows good cause for the failure.

“Good cause” does not include a belief that the lawsuit is groundless, or that it has been brought in an improper venue, or that the court has
no jurisdiction over this matter or over the defendant or the defendant’s property.

If the waiver is signed and returned, you can still make these and all other defenses and objections, but you cannot object to the absence of
a summons or of service.

if you waive service, then you must, within the time specified on the waiver form, serve an answer or a motion under Rule 12 on the plaintiff
and file a copy with the court. By signing and returning the waiver form, you are allowed more time to respond than if'a summons had been served.
Case: 3:16-cv-50037 Document #: 61-1 Filed: 05/31/16 Page 5 of 5 PagelD #:522

AQ 399 (01/09) Waiver of the Service of Summons

UNITED STATES DISTRICT COURT

for the
Northern District of Hlinois  [¥]

Kelly J. Cosgriff and Anita Cosgriff

Plaintiff

v. ) Civil Action No. 2016 CV 50037
Winnebago Couny, et. al )
Defendant )

WAIVER OF THE SERVICE OF SUMMONS

To: James J. Lessmeister
(Name of the plaintiff's attorney or unrepresented plaintiff)

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60 days from 02/23/2016 , the date when this request was sent (or 90 days if it was sent outside the
United States). If 1 fail to do so, a default judgment will be entered against me or the entity I represent.

Date:

Signature of the attorney or unrepresented party

Printed name of party waiving service of summons Printed name

Address
E-mail address

Telephane number

 

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and file a copy with the court. By signing and returning the waiver form, you are allowed more time to respond than if a summons had been served.
